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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NE\il JERSEY
                                           ----------x
DOROTHY      MCCULLOUGH,                                 :

                                                             AMENDED CERTIFIED
                              Plaintifl                      STATEMENT OF RICHARI)
                                                             S. SIEGEL IN SUPPORT OF
                                                             UNOPPOSED MOTION FOR
                                                             ADMISSION PÀO HAC WCE
UFCV/ LOCAL 152 RETAIL MEAT
PENSION FLIND,
                                                             Civil Action No:
                              Defendant.                     I : 1 7 - cv -065 7 8 -NLH-KMW


        Pursuant to Local Rule 101.1(c)(1),    I,   Richard S, Siegel, hereby certify that    I   am   a


member of the Bars of the District of Columbia and the State of Maryland. As permitted by

Local Rule 101.1(c)(1), in lieu of providing the information required by that Rule, certificates of

good standing for my admission to those Bars are attached as Exhibit 1 to the Unopposed Motion

for Admission Pro Hac Vice (ECF #12-1).

        I am further admitted to practice before the following federal courts, for which all
information required by Local Rule 101.1(cXl) is also listed below:

Court                 Admission Date        Name and Address of Individual or Offïce
                                            Maintainine Roll of Admitted Attornevs
United States         December 3,2014       Kevin Brossky
Court of Appeals                            Admissions
for the Second                              40 Foley Square
Circuit                                     New York, NY 10007
United States         June 12,2013          Attorney Admissions
Court of Appeals                            James A. Byrne United States Courthouse
for the Third                               601 Market Street
Circuit                                     Philadelphia, PA 19106
United States         April 9,2010          Sandra Crumpton
Court of Appeals                            Admissions
for the Fourth                              Lewis F. Powell Jr. Courthouse and Annex
Circuit                                     1100 East Main St. Suite 501
                                            Richmond, VA232l9
United States         April 9,2010          Lindsay Jaquas
Court of Appeals                            Deputy Clerk
for the Seventh                             Everett M. Dirksen United States Courthouse
Circuit                                     219 S. Dearborn Street, Room2722
                                            Chicago, IL 60604
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Court                  Admission Date      Name and Address of Individual or Office
                                           Maintainine Roll of Admitted Attorneys
United States          April4,   2008      Sierra Dennison
District Court for                         Attorney Admissions
the District of                            101 West Lombard Street
Maryland                                   Baltimore, MD 2120I
United States          August 3,2009       Simone Bledsoe
District Court for                         Deputy Clerk - Attorney Admissions
the District of                            333 Constitution Avenue NV/, Room 1225
Columbia                                   V/ashington, DC 20001
United States           April26,20lI       Erica Smith
District Court for                         Attorney Admissions Clerk
the Northern                               United States Courthouse
District of Florida                        401 SE First Ave
                                           Gainesville,FL 32601
United States          January 5,2012      Andrea Teet
District Court for                         Supervisor of Clerk's Offrce
the Eastern District                       Theodore Levin U.S. Courthouse
of Michigan                                231 V/. Lafayette Blvd. Room 564
                                           Detroit, M[48226

        I   further certify that that no disciplinary proceedings are pending against me in any

jurisdiction and no discipline has previously been imposed on me in any jurisdiction.

        I understand that upon my admission pro hac vice,I shall have the continuing obligation

during the period of such admission promptly to advise the Court of the disposition made of

pending charges or of the institution of new disciplinary proceedings.

Dated: October 4,2017                        Respectfull




                                                      S. Sie
                                             SLEVIN &           ,P
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of October, 2017, I filed the foregoing   Amended

Certified Statement of Richard S. Siegel in Support of Unopposed Motion for Admission Pro

Hac Vice via the Court's ECF system which will send notice of filing to all counsel of record.

                                                     lsl Fredrick M. Marx
                                                    Fredrick M. Marx

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                                                J
